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Cmpom"m" (OMW'F l;mail: eroblns@law.nyc.gov
NEW YORK’ NY 10007 Einail and Fax No. m for Scrvicc of Papers
September 21, 2018

BY ECF

Honorable Richard J. Sullivan
United States District Judge
Southern District of New York

40 Foley Square
New York, New York 10007 7 q/t‘{ /'{
Re: Michael Underwood v. TAFSC Housing Develonment Fund

Co§poration et. al
18 Civ. 06664 (RJS)

Dear Judge Sullivan:

I am an Assistant Corporation Counsel in the ofiice of Zaehary W. Caiter,
Corporation Counsel of the City of New York, attorney for Defendant City of New Yorl<
("Defendant City”) in the above-referenced alleged action I write to respectfully request
permission to annex two exhibits to my forthcoming pre-motion letter, as per the Court"s
lndividual Rules at Z.A. Ii` the Court finds attaching the exhibits acceptable, Defendant City
intends to use the exhibits in order to establish that Defendant City should be dismissed from this
Complaint since the City does not own the building where Plaintiff ostensibly worked, nor does
Defendant City control Plaintit`i"s employment.

Specitically, Defendant City requests permission to attach the Finai Award
Agreement ("`FAA”) as Exhibit “A" to its letter. Plaintifi` referenced this document in his
Complaint, ECF Docket No. l, ll ll. Plaintiff alleged that "Dei`endant [City] controlled the
building in which Plaintiff worked for Det`endants and Plaintii`t"s employment herein. through its
terms and conditions for the use and operation of the building as also set forth in the [FAA] . .
and noted in a footnote that "the FAA is incorporated herein" but did not attach the FAA to his
filings The FAA is a publicly available document as a copy has been e-tiled in the related New
York State Supreme Court matter New York State Homeless Housing and Assistance
Corooration v. TAFSC Housing Develonment Fund Corporation et. al., lndex No. 24530/2017E.
Defendant City anticipates attaching the e-filed version

Defendant City further requests permission to attach a Deed dated April 25, 2003
from grantor City of New York to grantee TAFSC Housing Development Fund Coiporation

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regarding the building at issue, 1061 Hall Place, Bronx, NY 10459. This document is also
publicly available via the Autornated City Register lnt`ormation System ("ACRIS").

City Det`endant respectfully asserts that the Court may consider this material if we
are permitted to attach it to our anticipated pre-motion to dismiss letter, because the Court may
consider, inter alia, documents that are referenced in the Complaint and matters to which judicial
notice may be taken. w Chambers v. Time Warner, Inc., 282 F.3d 147, 153 (Zd Cir. 2002).

Thank you for your consideration of this request

Respectfully submitted,

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Elizabeth H. Robins
Assistant Corporation Counsel

cc: BY E-FILE
Abdul Karim Hassan
Abdul K. Hassan Law Group PLLC
Attorney for Plaintiff
215-28 Hillside Avenue
Queens Village, NY l 1427

Brian J Markowitz

Goldstein l~lall PLLC

Attorney for Defendant New York State Homeless and Housing Assistance Corporation
80 Broad Street Suite 303

New York, NY 10004

IT IS HEREBY ORDERED that Defendant City Of New York may file the
two documents described in its letters as attachments to its
forthcoming' pre-motion, letter. Defendant, is advised that future
requests (such as, for example, requests for extensions of time)
shall indicate whether it has consulted with Plaintiff regarding its
request and shall indicate whether Plaintiff has consented.

 

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